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                     UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



Fishbowl Solutions, Inc.,                  Case No.: 0:21-cv-00794 (SRN/BRT)

                   Plaintiff,

vs.

The Hanover Insurance Company,

                   Defendant.




        DEFENDANT THE HANOVER INSURANCE COMPANY’S
                 MOTION FOR SUMMARY JUDGMENT
_______________________________________________________________________

      Defendant The Hanover Insurance Company (“Hanover”), by and through

their counsel, hereby moves this Court pursuant to Rule 56 of the Federal Rules

of Civil Procedure for Summary Judgment on the grounds that, as a matter of

law, there is no coverage under the Data Breach Coverage Form of the

Technology Professional Liability Policy issued by Hanover to Plaintiff Fishbowl

Solutions, Inc. for Fishbowl’s claimed loss.

      This Motion is based on the provisions of Rule 56 of the Federal Rules of

Civil Procedure, Hanover’s Memorandum of Law in Support of its Motion for

Summary Judgment, the Declaration of Scott G. Johnson and attached exhibits,
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the Declaration of Jack Smith and attached exhibit, and all of the files, records,

and proceedings herein.



June 7, 2022                                  Respectfully submitted,

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                                              By: /s/ Scott G. Johnson

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